Case:14-05033-swd Doc#:72-1 Filed: 04/20/15 Page 1 of 18

EXHIBIT 6

 
Case:14-05033-swd Doc#:72-1 Filed: 04/20/15 Page 2 of 18

Branch ‘ATK, User :AT13 Comment:

KENT,MI

Yo 0 : ee Ne
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XX-XXXXXXX

Hotdinrese P2112
Mary Heed tneae oak arcade SER

MORTGAGE

After Recording Return To:
Draper and Kran Beenier ae eeee Corp.

400 Soufh Guadeene Drive, Sulte A
Bolingbrook, IL

Prepared By:

Joanne Savas .

Draper and Kramer Mortgage Corp.
a3 West Mobroe Strect

Chleage, IL 60603

630-216.3530
vr ll
DEFINITIONS

Mods weed Inulipe etn this docunentare defines an oer wore dnd i Seton 3 11, 13, 18,
wd 21, “Gertain rules regarding the wange of words used in this Gocument are also provided in

sen Seeartty Tnstrwmient’ means thts document, which is dated April 02,2008, topether with all: Riders to this

etiBorrower" is PATSY PIERSON and ERIC PIERSON, wife and husband. Borrower's address Is $30 20
‘ TMS 1 Merona Bleetionds Rosters -Bortower fs the was accu a onthe! acting sl y

"MERS" is ctronic Re stration Systems, ie. sa. sepatate ration that i6 2 el
we and noniines for Lender and Lender's successory and assigns. eae umder this Security Instroment.

MRS acne tS existi under the lary of Delaware, od has an itd phono onic 3. Box 2026,

-2026, tel. (BB
, ee Is Draper oh Kramer Mortgag Lender. is a ‘Corporation and oxisting under
Jews of the State of Delaware. Tenders ads in 33 ‘eat Mouroe Street, Chi

ees

“Note” means ite promissory ae Se weet dated Apehog 2108. ne Note states thet Borrower

Ses Lender a ‘Thousand Sin. Huedied “Five Dollars (0.8. 880,656.00 } plus Merah Borewer has
debt in regular Perlodic'Payin en and to pay the debt nl not tr then

"Property" means the praperty thitia ‘deccrliad below under the heading “Transfer of Ri ir tho Property,"

plis'intetest.
thatare executed by Borrower. The following Riders are

Nate, jane all aura due under this Seca
"Riders" means all Riders to this

~ promised to pay
8 "Lean" means the dehi Scout plus interest, any Prepayment charges and late cherges dueunder

   
   
   
  

dob

[X] Manutketured Home Rider :
ee ble Law" means all contn {anol i, State local statutes, regulations, ordinwnsea and
nist tules.end orders (thathavet of ‘all: able final, non-appoalabfo judicial cpinions.

is zt  meensiall dues, feos, assessments and other charges

homeowners astoolaion or eindlar

“Commaiunity Association Dues, #
fe are imposed on Borrower or the

"Electronte Fonda Transfer" fi sily transfer Of Rida, ‘adheriftian a transaction orlginated by check, drat,
oraimiler paper instrument, whichis Initiated thraai anéfcctronts terminal, telephonis instrument, computer, or io
tape so-as to order, Instruct, or authorize a A {ustitution to debit or oredit an account. Such form Inchades, but is not
finited to, polatat tanle transfers, automated teller machine tratiaactions, ranathrs initiated by telephone, wire transfers,
and automated clearinghouse franafers.

(L} "Beeroer tenia" menns those items that ara described in Section 3.

MICHHGAN-S 7 :
MICHLGAN- Sine Fm p-raltaTdt Me UNIFOE RTH RECD APR 19 2008
(REA) BBE cicsuerenul - Rev, 11/14/2008 ,

Station Id :-BLZL

Page I} of 12 Printed on 3/16/2015 3:18:09 PM

Pocument: MTG 2008.0414.036099

 

 

 
Case:14-05033-swd Doc#:72-1 Filed: 04/20/15 Page 3 of 18

Branch :ATK,User :ATL3

Comment:

“Miscellaneous Proceeds" meansany corspenetion, settlement, award of damages, or proceeds paid by any third
fey (oe hn ruts oases pad under tho coverages described in Section $) foes (1) damayeto trae on of,
the Property; (7) condensation or other taking of all or any part of the Property: {is} conveyance tm Neu of condemmation:
of Civ) misrepresentations of, cr omiseians as to, the valié and/or condition of the Property.

"Mortgage Insurance” means fnauratice protecting Lender against the nonpayment of, or default on, the Lean.

0} = "Perlodic Paymend™ means the regularly schedule amonnt due fer (D principal end interest under the Note, plus
(i) any amounts under Section 3 of this Security Instrument. “ .

@P) “RESPA" means the Real Estats Settlement Procedures Act (12 U.S.C. 6260 at seq.) and tts impleménting
regulation, Regulation X (24 C.F.R. Part 3400), os they might be amended ftom time te time, or any additional orsacesasor
Teptslation or regulation thet governs the same subject matter. Ae used in this Security Instrument, "RESPA" refers to all
fequirements and restrictions that ate Imposed in fo a “federally related mortgage loan" even if the Loan doas ot
qualify ag a "federally related mortgage ioan" under A.

(Q "Successor ko Interest of Borrower" means any party thet has taken title to the Property, whether or not that
party bas easumed Borrower's obligations undor tha Note and/or this Security Instrument.

TRANSFER OF RIGHTS IN THE PROPERTY .

This Securlty Instrument secures to Lender: (1) the repayment of the Loan, and all renewals, extensions and modifications
ofthe Note; and (il) the performance of Borrawerscovennms and agreements under this Security Ingtrument and the Note,
For this purpose, Borrower does heteby mortgage, warrant, grant and convey to MERS (solely es nomince for Lendar and
Lender's succeasora and assigns) and to the succcasors and acelens of MERS, with power of sale, the following desoribed
froperiy located in the County of KENT:

See Bahtbit "A" attached hereto aod madea part heres! forall purposes (Property tdeztification
i

Nunbert

Grantor covenants aud agrees that among the real aod coriaia oprovements convened ty tila
instrament isa manufactured home destribed ai Year: 1992, turer: F. ONT HOMES, Model #: ES
CROWN REGIS, Serlal i MYS228976ABW5578, Bize: 14X82, 14357, and said manuikctured kome to a
Permanent improverient fe the real property and shall remain attacked to and shell not be removed from said land
natil the indebteduess secured hereby is pala in fol,

which eurantly hes the address of $8020 MELE AD.NE, CEDAR SPRINGS, MI 49319 {Property Address");

TOGETHER WITH all tha vernents now or herenfier erected on the property, and all easements,
appurtenances, and fixtures now or a part of the property, All replacements and additions shall also be covered
by this Security instrament. Ail of tie ing is referred to in this Security Instrument 23 the "Property." Borrower
understands and aacees that MERS hotds only legal title to the interests granted by Borcowar in this Seoul
but, iEnecesvary to comply with law or custom, MERS (a nominee for Lender and Lender's sucnessore assigns) bas
the right: to exerelae any or all of those interests, including, but not limited to, the rleht to foreclose and sell the 7
and to take any ection requived of Lender Including, but rict timited to, releasing and canceling this Security insteument.

BORROWER COVENANTS that Borrower Is lawfully seised af the estate hereby conveyed and has the right to

margage, grant and convey the B: aud that ths: except for encumbrances of tecord.
Horomer srarranis and mit doen rat
encumbrances of recand,

THIS SECURITY INSTRUMENT combincauniform covenants fr national use and non-uniform covenants with
Hmlted variations by jurisdicilon to consiituts a uniform security Insmument covering real property,

UNIFORM COVENANTS, Borrower and Lender covenant and as follows:
LPB spay Charges ari Late Chorges, Bony sts

   

picperty isu
defend generally the tite to the Property against all claims and demands, eubject to any

Station Id :BLZL

 

    

ayment of Principal, Interest, Eserow Items, P

 

KENT,MI

      
   

pay urn TTT a : Retort ey ics 2 F yinent charged and late charges
diz wider the Note. Borrower shall alco pay funds for Escrow tema puruant to Section 3, Payments dus under the Note
ond this Security Instrument chal] ba mado in U8, currency. However, ifany check of other instrument received by Lender
aa paymrent under the Note or this Scourity Yostrument is rerned to Lender unpaid, Lender riay re pire that any or all
quent ents due-under the Note and this Security Instrement be mada in one-or mare of ths fol Forma, as
selected by Lender; (2) cash; (qb) tan ander; (6) oertfied check, bank check, treasurer's check or cashier's chen provided
any such chock is drawn wpon an institution deposits are insured by a federal agency, instramontality, or entity! or
(d) Electranic Funds Transfer.
Payments are. deemed recalved by Tender when received af the location déslprated in the Note or at auch other
location es may be dealgnated by Lender in accordance with the notice provisions in Section 15, Lender may return any
payimentor el paymentifthe payment or partial peymentaare insufficientto bring the Laan current, Lendermay accept
any ent or partial payment insufficient to bring the Loan current, without walver of fights hereunder or prajudica
to its rights to refuse such payment or partial emanate bo ob gaod apy wet pgmat
atthe time auch payments srezccepted, Periodic Payment is applied as of ita scheduled due date, then Lender need.

MUCTIGAN Sings Finnlly—Fruoie Man/Freddie Mac UNIFORM INSTRUMENT = —--——_—~-. __..___

‘ores . off

i ee Pee af Ps IAL ,
286804 XX-XXXXXXX

Mary Hollinrale P2742 8:22
Kent Gnty Mi Rastreerig/2agg Seal

Page2ofl2 Printed on 3/16/2015 3:18:10 PM

Document: MTG 2008.0414,036099

 

 

 

 
Case:14-05033-swd Doc#:72-1 Filed: 04/20/15 Page 4 of 18
Branch :ATK,User :AT13 Comntent:

not pay interest on unapplied finds, Lender mey bold euch unappiled funds uafll Borrower makes payment te bring the

Loan current. If Borrower doos not dose within a reasonable pariod of thne, Lender shall either fy such fnde orretum
~ them to Borrower, Ifnot applied earlier, such finda will be applied to the outstanding princi ce under the Note

immedistely prior to i Soreclaanre, No offset or claim witich Borcower might have ow or in thes future apalsst Lendar shall

relieve Borrower from mak! Fe recor the Note andthle Security Instrument or perform|ng the covenatits and

agroenients secured by this Security Instrument.

Heation of Faymasutsor Proceeds Exceptas otherwise desorbed in this Section 2, all pay va accepted
sed bet ener shall be appHed In the following order of priority (a) interest due tinder the Note;

wet heh Nake ig) amounts due under Section 3, Such payments shall be appiled to each Perlodle Pee an the ster

jn which it became due, Any remaining amounts shal! be applied first to late charges, second to any other amounts dus

under this Security Instrument, and then to reduce the pri balance of the Note,

Irian ertocelves aymuent ftom Borrower fore eh pentPeriodic Paymont witch includes aeufficient eraurt
to charge due, mp yment 2 late ntote Chun one
Periods isouahdng, ender may y ofy any payment recatved from Borrower to the rep roirment ofthe Perlodis

and to the extent thal, cach ot, in full. To the extent that any excess exists after the payment
iappld to the full paynient of dno or more Periodic opm Al. Te such excess may ba enplied to any late charges dre.
Vo! untsty prepayments ehall bo applied fires to any pi ajmemt chargas and teen ae descr ed in the
Any application of payments, inmirance proceeds, or Miscellaneous Proceeds to principal due under the Note shall
not extend or or pestpone the due-date, or change the ie amour, af the Perlodio Payments.
Funde for Escrow Items, Borrower eh Lender on the dey Periodic Payments are due under the Note,
una hit is paid in full, asum (the "Fonds": al for payment of amounts due for: (a) taxes and assessments and
can attaln priorlty over this Security Lastrament as riesalen or encumbrance on the Property; +t leasehold
ud sents on the Property, ifeny;(c) premiums for any and all insurance required by Lender Best
sand Masunnes joemhine haeoeard S, [fF any, OF any sums payable by Borrower to Lender in leu of the payment of
in accordance with the provislons of Section 16. 10. ciiese i items are called "Escrow Jteme."
Atcrghationgrtany io dunng itr of tte Loan, Lender may require tint ity Association Duss, Foss, and and
Assossments, if any, be escrowed by Borrower, and such dues, fees, and assessments rons aball Be be sn Escrow Item
shall promptly furtigh to Lendor‘ail noticas of amounts to be pald under this Section, Borrower ehall pry Lenten
for Escrow Items unless Lender waives Borrower's obligation to pay the Funds for any or all Escrow Lender may
waive Borrower's obligation to pay to Lender Fusds for any cr afl Beceow items at any the. Any such walyer may only
‘be in writing. Inthe event of such walver, Borrower shal pe + divectly, wher and where payable, the amounts dee forany
Escrow Items for which paymont of Funds hes been wah by Lender and, if Lender requires, shall finish to Lander
recelptr evidencing such payment within such time period ay Lender may require. Borrower's obligation to make such
and tir to provide raceipis shall for all purposes be deenied 10 be a covenantand agreement contained inthis Security
instrament, aa the phrase "covenant and agreement” ig weed in Seotion 9. if Borrower in obligated to pay. Beorow ltems
directly, purauant to a waiver, and Borrower falls to pay the amount due for an Escrow Item, Lender may oversisa Hs rights
under Section 9 and pay such amount and Borrower shall then be obligated under Section 9 ta repay to Lender any such
amount, Lender may revoke the walver aa to any or all Becrow Hemy at any tae by a. notice given in accordance with
Seation 15 and, yponsuchrevotation, Borrower pay to Lender all Funds, and in such amounts, that ane thea required

Lender may, at any time, collect and bold Funds in an amount (a) sufficient to permit Lender to oy iaERPA. Lede ihe Funds
al tha tine specified inder RESPA, md (b} not to-exkceed the maximum emounta lender can tequire under
shall estimate tke amount of Funds due on the basls of current date and reasonable estimates of expend
Bosco Hee urd bell beheld nae stent ae deposi after nay catty

s shall be held in. an whose aré insure af eral OF
: Gadtudin Lender, if Lender 1s an institution whose dopocis ane 80 insu y Federal iHome Loan
hall the Funds to pay the Beorow Teams no tater than the time spec under RESPA, ‘Tendon shail not orange

Borrower fr holdingand applying the Funda, ponnually analyzing the theescrow account, or verifying the Escrow ltems, unless
Lender pays Borrower interest on the Funds smd yer id da mits Lender to make such a charge. Untess
agreement 1s made in writing or Applicable Lawr interest to be pald on the Funds, Lendor shall not be required to

           

 

KENT,MI

      

 

DA Borrower an interest or earnings an the Panda. COROT ee ere en wt  thiat interest shall

ether fs.a surplus of Funda held in esorow, as defined under RESPA, Lender shell account to Borrower for the

excess finds Inaccordance with R RESPA. ifthere ls a shoringe of Funds held in In scr, as deflacd under RESPA, Lender

shall nothiy Borrower mes required by RESPA, and Borrower ahall ths amount necessary to make pp the
ate areca Tf

shortage in aceardance A, but in na moor than 12 m tne a dens of Funds big held tn
eserowy, as defined ir RESPA, Lender shall natlfy Borrower 68 required by RESP A, aud Borrower shal! pay to Lend
the amoinit necessary up the do iciency in accordance with RESPA, but in ne more then 12 monthly payments.
Ua payaenn Sia 0 oF ail sums secuied by thls Security instrument, Lender shall promptly refand te Borrower
any ee ty ee Borrower shall ill fines, rtd. {lous attributable
) Chargeas Liens, jr pay all taxes, assessments, charges, bid impoattions niable 10 The
Property which can attain prlority over this Security Instrument, leasehold payments or ground rents on the Property, if any,
and nd Consmunity Association Dues, Fees, and Arment, of any, To the extent that these items are Hecrow Items,
Borawer shell pay them in the manner provided fn Section

fe a FN

Mary Hollinrake Pra/12
Rant Cnty AF Peete Bhi Farandd ae

Station Id ‘BLZL

Page 3 of 12 ' Printed on 3/16/2015 3:18:11 PM

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Branch :ATK,User :AT13 Comment:

KENT,MI

Document: MTG 2008.0414.036099

Borrower shall promptly y dechorge any Hen which has = priority over this Seenrity Instrument unless Borrower: (a}
agrees [n writing to the payment of the o on secured by ft 6 lien in a manner stceptable to Lender, but only so long
ag Borrowerds performing euch greement (6) contests the Hen in good dalth by, ordefends againstenforcement
mt legal proceedings which in Landers opinion o erate to prevent the euforcament of the ten while those mroceedings are are
butonl rating te lent dings are ded; or(c}secures from ihe holder ofthe Hen an age eernent iy issuifes
oL er oul lan to thls Security Instrument. If Lender detenninsa that any part ofthe ips sishj ee
to a lien which can nn priority aver this Security Instrument, Leniler may give Borrower a notice i
Within 10 days of the date on which that notice is alven, Borrower shall sattafy the lien or take one or more ofthe a
set forth above in this Section 4.

Lender may require Borower to pay a one-time charge for a real estate tax verification enello reporting service
used by ender in connection with this Loan.

eee Borrowershall kesp the improvements now exiating orbercafter erected on the Property
insured agalaet 8 by fire, hazards ineiuded within the tenn "extended coverage," and any other hazards Including, but
not limited ta, sarfquakes and floods, for which Lender requires insurance. This insurance shall bs meintalned in the
amounts (locteding deductible levels) and for the pertods that Lender requires. What Lender requires purtuant to the
ding sentences can change during the term of the Loan, ‘Tho insurance carer providing the insurance shall be chosen
y Borrower subject t Lender's right to disapprove Borrower's choice, which right shall not be exercised unreasonably.
Lender say require Borrower to pay, In connection with ¢his Loan, either: {e) a a one-time: charge for flood zens
determination, senification and tracking services; of (>) one-time charge for foo determination and certification
services and ent olmrges cach thne remappings or sinltar changes occur which reasonably might affect such
determination or certification, Borrower shall also be rceponsible for iho payment of any fees imposed by the Federal
By Bren seamen: Agency connection wih thereviw afemy fod zone dotensination vaulting fromanobjection
eTroWer.

Hf Borrower faile to ranintain any of the coverages deacrthed above, Lender may obtain Insurance covernge, at
Lenders option and Borrower's expense, Leider le under no obligation to purchase any particular type or amount of
coverage. fore, such coverage shall cover Lender, but might or mi role rotect BODOWer, Borrower's equity inthe
Property, or the contents of the Property, against any rik, hazard or | might provide greater or lesser covi
dunt was eviousty in in effect, Borrower acknowledges that the cost A ithe insurance coverage 50 cbtalned

algnifi the consi of insurance that Bormower could have obtained. Any amnounis disbursed! by Lender under this
Section § shall become additional debt of Borrower secured by thia Security Instrument, These amounts shall bear interest
at the Nate rate from ne date of disbursement and shall be payable, with such Interest, upon notice from Lender to
orrawer reucsting,

All tnauranes pals required by Lender and renewals of of auch fictes shall be avbfect to Lender's right to
disapprove such policies, shall include a standart mnorgaae <ians0, all name Lender as mortgagee and/or a3 An
addiktenal lose payee. [Leder shal ave the sight tobald Pelli nd renal corilficates. If Lenderrequires, Horrower
Bhall promptly give to Londerall receipts of paid premiums and renewal nolicas. [Borrower obtains any nin of inaurance
coverage, not otherwise required by » for damage to, or destruction of, the Pr , such policy shall include 4
standarel marigage clause and ehall name Lender a3, morigages and/or a5 Bn adiitional loss payec.

las Pnot made reply by Borrower, Unless Louder and Sotrower oer er jer. Lender may make

proofaf lose Hf net made promptly by Borrower. Unless Lauder and Borrower otherwise agree in writing, any Insurance

proceeds , Whether or not the underlying Insurance was: Landay, shail be applied to restoration or repair of the

ood {ftha restoration or repair is esonomni feasible and rs security i is not iessened. During such repait and
etlod, Lender shall have the right to hold such insurance cistern Drovided that sued orion eal

Property to enpure the work has been teted to Lene: ® satisfaction, provided that auch inspection fH

w Tinderiaken portly. Lender tray disburee Fre for the repairs and restoration in a single payment or in a.geries

of 5 paymentsas the work iscompleted. Unless an: mentismade in writing or Applicable baw wires interest

Paid on such Insurance procecds, Lender shall not be requived to pay Borrower any ‘on such

presets Fees for public adjusters, or other third parties, retained by Borrower shall not be paid out of thr ingurance

proceeds and shall be the sole obtigatlon of Borrower. Ifthe restoration or repair is not eoctiomically feosible or Lender's

security would belessencd, the insurance procesds shall be appliedto tha sume secured by this Ssourity Instrument, whether

or not toen due with the excess, ifany, paid w Borrower. Such insurance proceeds shall be applied in the order provided

Case:14-05033-swd Doc#:72-1 Filed: 04/20/15 Page 5 of 18

Station Id :‘BLZI.

 

tig na ey a settle any avallable inauranceclatm and relatad
matters, [FBorrower doesnot 3 toa notice from Lendor thet the insurance carrior has offered to settle
aciaim, then Lender may and settle the efalm, ‘The 30-day period will begla when the notice is given, Ineither
event, or ifLender acquires Property under Section 22 or otlerwise, Borrower hereby aseigria 0 Lender (a) Borrower's
Nights to any insoranve proceeds in zn amount potta oxcead the amounts unpaid under the Note or this Security Instrument,
and (b) any other of Borrower's rights (other than the elght to any refed of'umanrned premiums pald by Borrower) onder
all Jnswance politika covering the Property, insofar as sah ight are applicable to thee soverage af ths Property. Lander
thay use the ineurance proceeds bither to depale oc restore the HOPOrtY-OF 10 pay souls Unpaid under the Note-or this
‘Security Instrument, et oF mot then dus,

6 Oceupancy. Borrower shall hall ocoupy, establish, and use the Property as Borrower's principal realdence within
60 days after the execution of this Security Instrument and shall continua to occupy the Praperty a Borrow orrower's principal
residence for at least on ne year after the dale of coaupancy,unees andar otherwise agrees in log, which consent shall
not be unreasonably withheld, or unless extenuating citcumstances exist which are beyond Borrower's contzal,

MECHHGAN-Bingle Family-Fenote MacEreddit Mac UNIFORM INSTRUMENT = arma TIDE)
Tienes ineos TAL

Dery Hol Lancate P:4s12 S:23nH
Grty NE Rgetr 84/14/9905 SEAL

Page 4 of 12 Printed on 3/16/2015 3:18:11 PM

 

 

 
Branch :ATR,User :ATI3 Comment:

7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower akail not destroy,
damage or impeir the Property, allow the Propesty to doteriovate or comm waste-on the Property. Whetherornot Borrower
Js residing in the Property, Borrower shall mainte the Property in order to prevent the Property from deteriorating or
éeereusing in value due to ita condition. Lnless it is detemnined purauant to Section 5 thnt repatr or restoration is not
economically feasible, Borrower aball promptly repair the Property if damaged to avoid further doterioraflon or damage.
Ifinanranceor condemnation proceeds arapeid in connection with damageta, or the taking of, the Property, Bonower shall
hs respaneible for repairing of restoring the Property only if Lender bas released proceeds for such purposes, Lender inay
dishurse proceeda for the repairs and restoration In a alngle payment or in a senies of progress payments as the work i
completed, [fthe insurance or condenmation proceeds are not aufficient to repair of reabore the Property, Bornowar Js not
relieved of Borrower's obligation for the completion of such repalr or restoraiton.

Lander or its may make reasonable enties upon and i ona of the Property. If it hes ressonable-cause,
Lender mey inspect the Interior of the Improvements on the Property, Lendet shall giva Borrower notlee at dhe time ofor
Pilar to auch an interior inspectlon specifying such seasonable cause,

8. Borrower's Lonn Application. Borrower shall be in default if, during the Loan application process, Borrower
or arly persons or entitles acting at the direction of Borrower or with Barrower's knowledge or consent gayemererially false,
misleading, or inaccurate infantiation or statements to Lender (or failed to provide Lender with m information) in
connection with the Loan. Materlal representations inslude, but are not limltad to, representations conceraing Borrower's
otc of the Property aa Borrower's principal resideoce. .

¢ Protection of Landex's ia the Property and Rights DUader this Seeurity Ensiroment. if
fa) Borrower fails to perform the covenants and agreemsnis conlained in this Sesurity Instrument, (b) there |e a legal
procepdling thar migt significantly affect Lender's Interest In the Property and/or rights under this Security Instrument {ous
as. proveding in anioupicy, probate, for cmdeninglion of forfeiture, or enforeement ofa Hen which ragy stinic priority
over this Security Instrument or to enforce lawe or regulation), ot (¢) Borrower has abandoned the Property, then Lender
may do and pay for whatevar is reasonable cr iste to protect Lender'a interest it ihe Property and rights under this
Security Instrument, ineluding protecting and/or assessing the value of the Property, al securing and/or repalring the
Property, Lender's actions can include, but arenot limited de: () paying any suns secured by alien whieh has pelotity over
this Security Instrument; (b) appearing in court; and & paying reas attorneys’ fees to protect its Interest in fhe
Property and/or rights under this Security Instrument, including its secured position in.a bantumptcy proceeding. Searing
the Property includes, but is not Ilmlied to, ant ita thé Property to make rapairs, change looks, op or board up doas
and windows, dain water from pipes, elicoinate boikting or other code violet! age oss ep pnd have ntilitios
tumed on or off. Alihoy; er may take artlonwnder this Section 9, Lender does not bave to déso ond 1s not neder
any duty ar obligation to oso, Itis agreed thatLender incurs no liability for not taking any or all actions authorized onder

ection >.

Any amounts disbursed by Lender under thls Seotion 9 shall become additional debt of Barroweraccured by this
Security Instrament. These amounts shall bear interest atthe Note rate fram the date of disbursement snd shall be payable,
with such interest, upon totes from Lender to Bormower reque payment,

If this Security Instrument is am a foaschold, Borrower soraply with all the provisions of the. lease, If
Borrower acquires feetitle to the Property, the leasehold and the fee title ahaliniot merge unless Rgrees to the merger

in

11. Mo éRnsarance, If Lender required Mortgage Insurance as a condition of making the Loan, Borrower
shall pay the roms faired tf inolztaia the Mortgage Insurance Ineffest, If for any reason, the Insurance
coverage required er ceases to be available from the mortgage insurer that previously provided euch Insuranecand
Borrower waa required to make separately designated payments toward the premlums for Mortgage Borrower
shall pay the premiums red to obtain coverage substantially equivalentto the M Tngurance previously in effect,
ata costaubstantially e tothe coat to Rannower ofthe Morigage Insurance ously in effect, from en altensate
m™ Insurer sel by Lender. If substantially equivalent Mortgage Insurance coverage is notavaitable, Borrower
shall continue to pay to Lender the amount of the separately daslgnated payments that were duc when the insurance
coverage ceased to be ineffect, ‘Lender will accept, use and retain thess payments ag 2 non-rofiundable loss reserve-in Liew
ofMotigage Insurance, Such loss reserve shall beston-refindable, notwithstanding the fact thet the Loan is ultimately pakd
in full, and Lender shall not berequired to Borvower any interest oresrnings on such lossreserve, Lender canna longer

         

 

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ve loss reserve f oe coverage (in the antount and for the period that Lender requires)

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Case:14-05033-swd Doc #:72-1 Filed: 04/20/15 . Page 6 of 18

Station Id ;BLZL

 

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peymenistonard the raniums for Mongegs insurance, If Lender required Insurance asa condition of making
Loanand Borrower was required to. make deslonated ts toward the premizums for, Insurance,
Borrower shall pay the premiums required to maintain Mortgage Insumnee In effect, or to provide a hie lors

reserva, until Lenders requirement for Mo Tngurance ends in accordance with any written agreement
Borrower and Lender providing for rach termination or until termination Js required by Applicable Law. ‘Nothing Jn this
Section 10 affects Borrower's obligation to pay interest at the rate provided in the Nate.

Mortgage Insurance yelmbnrses (or any entity that purchases the Note), for certain losses it may incur if
Borrower does not repay the Loan as agreed. Borrower ts not a party to the Mortgage Insurance.

/ Mortgage Insurers evaluate thelr total rigk an all such insurance in force fom time to ilme, and may enter into
agreements with other parties thatahare or malty theirrisk, orreduce logses. Theseagreeiients areon terme and conditions
that are antisfactory to the mortgage insurer and the other party (or parties) to those agreements, These agresments may
require the mortgage insurer to make payments using any soutce of funds that the mortgage insurer way have available
(which may inclade finds cttained from Morigage Insurance premiums), :

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Page 5 of 12 . Printed on 3/16/2015 3:18:12 PM

 

 

 
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. Aga result ofthese agreements, Lender, any ofthe Nota, another insurer, any reinsurer, aby other entity,
or any affiliata of any of the foregoing, may recelye (directly or Indirectly) amounts that derive from for might be
characterized as) a portion of Busower’s payments for Mi Insurance, in exchenge for sharing or modifying the
morta insures’s risk, or seducing losses. If such agreement provides that on affilinte of Lender takes n share of the
insurer's risk in exchange for a share of the premiums pald to the insurer, the arrengsment is often temmed "captive
reinsurance." Further:

(a) Any such agreemenis will uot affect the amounts that Borrower bas agreed to pay for Mortgage
Insurance, or any other tevma of the Loan. Suck agreements will aed increase the amount Borrower will owe
Mortgage lusuraace, end they will not entitle Borrower to any refund,

1» Any such agreements will not affect the rights Borrower has — if any — with respect to the Morigapoe
losnrance nader the Homeowners Protection Act of 1998 or any other law. These righta may Include the right te
receive certain disclosures, to request aed shield cancellation of the Mortgage Insurance, to have the Morigage
Josurance terminated automa p and/or to receive refund of any Mortgage Insurance premiums that were
unearsed at the time of auch cancellation or termination.

11, Assigoment of Miscellaneous Proceeds; Forfelture, A! Wigcellancous Proceeds are hereby asaigned to
ms sl tie Property nd 4, such Miscellaneous Proceeds shall be applied Hi pair of the Prope

the Property is damaged, 3 i ons Proceeds ¢ to restoration or rv, hy
ifthe restoration or repalr ig economically feashble and Londerssecunity is ot lessened. During such Npsieandresoutled
perlod, Lender shall have the rightin hal such Miscellaneous Froceeds until Lenderhas had an opportunity to fnspectsuch
Property to ensure the work bas been completed to Lender's satisfaction, ed that such inspection shall be tindertakcen
prow
the wi

. Lender may pay for the rmpatrs arid restoration in p.aingle dis ureement or in a series of progress nts as

is completed. ‘Unless an nt Is made in writing or Applicable Law requires Interest to be paid on euch

Miscellansous Proceeds, Leader shall not be required to pay Benrowar fny interest or eatnings on such Miscellaneous

Proceeds. [fthe restoration of repairs noteconomically feasibloor Londss’s securlty would be lessened, the Miscellaneous

Proceeds aball be appiled to the sums secured by this Security Instrument, whether ornotthen due, with the excess, Jfeny,
peld to Borrower, Miscellaneous a shail bo applied in the order provided for in Secilon 2.

Th the event ofa toial taking, destruction, or loas-in value of the Property, the Miscellaneous Proceeds shall be

applied tothe sums secured by this Security Instrument, whether or oot then due, with the excess, if any, pald 10 Borrower.

Tn the evant of a partial taking, destruction, or loss in value of the Property in whol the fair market value of the

Property Inmediately 6 the degisuction, or logs in value is equal te or greater than the amount of the
Bums secured by this Security Instrurieat immediately before the partial ‘destruction, or loss in value, uniess

Borrower md Lender otherwise agres in writing, the suma secured by this So Instrument shall be reduced by the |

amount of the Miscsllaneous Proceads toultiplied Sy the following on: (a) the fotal amount of the sums secured
immediately bedore the partial taking, destruction, o¥ loss in value divided by (b) the fair market value of the Propesty
immediately before the partial taking, destrostion, or lose in value, Any balance shall te paid to Borrower.

In the event of a partial taking, destruotion, or lose in valus af the Property im which the fair market value of the
Property inmmediately b the taking, destruction, ar loga in value Is. leea than the aniount of the sume eecured
immediately before the partial taking, destruction, ar loss in value, unless Borrower and Lender otherwisnagres in writing,
thon Miscellaneons Procends shall ba applied to the aunss secured by this Security Instrument whether or not fe sume are

us.

Ifthe Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing Party (a9
defined in the next sentence} offers ta inake an, award to settle clean Yordanmapes Borrower fails torespond to Lender
within 30 days after the date thenotles Is piven, Londor is anthorizad to coMeat and apply the Miscellaneous a ether

restoration or repair of the Property or to the sums secured CG Security tasirament, whether or not then dus.

te hl
“Opposing Party" means ihe thitd party that owes Borrower Blicoefiansts Proceads or ths party against whom Borrower

has a right of aotion in regard to Miscellaneous Proceeds.
Borrower shell be in default if any action or proceeding, whether civil or criminal, i begun that, in Lenders
Judgement, coufd resuit in forfeteure of the Property or other material impairment of Lender's interest in the Property or
rights under this Security Instrument. Borrower can cure such a default and, if acceleration has occured, reinstate as
provided Ii Section 19, by caualng the actlon or proveeding to te dismissed with a ruling that, in Lenders judgment,
ecludes forfeltura of the Property or other material impairment of Lender's intorest in the Property of rights under thia

       

 

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interest in the Property are hereby assigned and shall be paid to Lender.
___ All Misceallanous Proceeds that are stot applied to restoration or repair of the Property shall be applied Inthe order
provided for in Section 2. :

12. Boreorer Not Released; Forbearance By Lender Not s Welver. Extension of the time for payment or
modification of amoriization of the sums seoured by thls Security Insinmnent granted by Lender to Borrower or any
Successor in Interest of Borrower shall not oparate to relesgs the Habliity of Borrower or any Suocestozs in Interest of
Borrower, Lender shall not be required to commences procesdingsagalnetany Successor in Interest of Borrower or tovefise
toextend time for payment or otherwise modify amortizetion of the sums secured by ihls Security Instrument by reson of
soy demand made by ihe orginal Borrower or any Succesacrs in Interest of Borrower. Any forbearance by Lender in
exercising any right orremedy including, without limitation, Lender's acceptance of payments from third persons, entities
or Siecessors ba Interest of Borrower or in amounts less thant the amount then due, not be a- waiver ofor preclode the
exercles of any right or remauty.

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Case:14-05033-swd Doc#:72-1 Filed: 04/20/15 Page 7 of 18

Station Id ‘BLZL

Page 6 of 12 Printed on 3/16/2015 3:18:13 PM

Document: MTG 2008.0414.036099

 

 

 
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13. Joint and Several Liability; Co-siguers; Successors and Assigns Bound. Borrower covenants and agrees
that Borrower's obligations and Habiliiy shail be joini and several, However, any Borrower who co-signe this Security
instrament but docs not execute the Note (a “co-aigner"); (a) is co-signing this Security Instrument only to mortgage, grant
and convey the co-signer’s interastin the Property underthe terme of this Seeurity Instrument; (b) isnot pereanally obligated
to pay the sums secured by tids Security Instrument; and (¢) agrees that Lander and any ofher Borrower can agree to extend,
modify, forbear or make any accommodations with regard to the terms of this Security Insirament or tha Note without tha
coesignes's consent. .

Subject to the provielons of Section 18, any Successor in Interest of Borrower who assumes Borrower's obligations
under this Security Instrument in writing, and is approved by Lender, shall obtain all of Borrower's rights and benefits under
this Security Inatrarvent, Borrower shall not be rel from Borrowers obligations and Habllity under this Sz
instrament untoss Lender apress to euch release ln writhng, The coversuts and agreements of thie Seourlty Instrument
bind Coxcept as provided In Section 29) and benefit the suceoasora and assigns of Lender.

14. Loan Cha: Lender way charge Borrower feos for services performed in connection with Borrower's
default, for the purpose of protecting, e's interest in the Fh and rights under this Security Lostrument, including,
but not limited to, attameys fega, property inspection and valuation tees, In regard tp any other fees, the absence of express
authority in this Security Insirument to aapeciiic fee to Borrower shall not be construed as a prohibition on the
charging ofsuch fee. Lender may not charge fees that are-sxpressly prohibited by tis Seourity Iesxtrumentorby Applicable

IF the Loan je subject to 4 law whith sets maximum loan charges, and thet law is finally intorpreted so that the
interest or other loan charges collected ar to be collected in connection with the Loan exceed the permiited limits, then: (3)
any such Ipan charge ereduced by the amoumnecessa toreduce the change te the permitted Html and (b) any sume
already callected from Bortower which excesded pannitted limits will be refined to er. Lender may choose te
make this refund by reducing the principal owed ander the Note or by making a direct payment to Borrower. Ifa refund
Tednces principal, the reduetion wi | be treated aa 8 partial pre ayment without any prepayment charge (whether or not a
pepament charge is provitied for under the Note). Borrower's ee of any such made by direct payment 1

jomower will constitue @ walver of any right of netion Borrower might have out of auch

15. Notloes, All notices given by Borrower or Lender in connection with this Security [instrament most be in
writing. Any notice to Borrower in connection wiih this Seourity Instrument shalt be deemed to have been elven to
Borrower when mailed by first class mail or when actually delivered to Borcower's notice address if seni by other means.
Notice to any one Borrower shalt constitute natice to all Borrowers unless Applicable Law expressly requires otherwise.
The notice address shall be tee Property Address unless Borrower has dealgnated a substitute natlee by notice to
Lender, Borrower shall promptly netify Leader of Borrower's change of address. [If Lender epscifies a procedure for
reporting Hoxrower's change of address, then Borrower shall only report a changs of addrasa through that specified
procedure, Thera may he only one designated notice addrese under this Secuity Instrument at any one tine. Any nodice
to Lender shell be given by delivering Hor by malling kt by firutolass maul to Lerider’s acdreas stated herein unless Lender
haa designated another by notice to-Borrower, Any notice in connection with thla Security Instrument shall not
ba deamed to have heen given to Lender until sotually recelved by Lender, Uf any notices required by this Becurlty
Instrument if aleo required under Applicable Law, the Applicable Law requirement will satlafy tha corresponding
requirement under this Security Instrument, .

16, Governing Law, Severability; Rales of Construction, This Security Instrument ehall be governed by federal
lew and the law af the urisdtclign in which the Property is located. Ail Fights and obligations in this Security
Tostrument ata subject to any requirements and Iimbkations of Applicable Law. Applicable Law might explictity or
impileitly allow the parties to agree by contract ort might be silent, but suck silence shall note construed as a prohibition
against fupsement by contract Jn the evant that any provision or olauss of this Security Instrument or the Note confllota
with Applicable Law, such confiict ahall not affect other provisions of this Security Instrument or the Note which can be
given effect without the conflicting provision. .

Asused in this Security Instroment: (a} words of tha masculine gender shatimean and include corresponding neuter
words or words of the feminine gender; (6) words in the singular shali mean and include the plural and vice versa: and
(¢} the word "may" gives sole discretion without any obligation to take any actlon,

17. Borrower's Copy. Borrower shall be given one copy of the Note and of this Seourlty Instrument.
18, Tronafer of the Propo ty or 6 Ben Tatercstia Borrower, As used inthis Section 18, “Doterest in the

 

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Case:14-05033-swd Doc#:72-1 Filed: 04/20/15 Page 8 of 18

Station Id :BLZL

 

     

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transferred ta bond for deed, contsact for deed, installmentsaales contract or excrow apresment, the bntont of which isthe
transfer of title by Borrower at a future date to a purchaser,

Ball or ery ‘part of the Property or asty Interest In the Property {a sold or transferred (or if Borrower is nota metal
person and a cial interest ia Borrower is scki or transferred) without Lender's prlor written. consent, Lender may
require immediate in full of all sums secured by this Security Instrument, However, this option shall rot bo
exercised by Lender if such exercise Is prohibited by Applicable Law,

ler exercises this option, Lender shail give Borrower notice of acceleration, The notices shall provide a

if
perfad of not less than 30 days trom the date the noticais given in accordance with Secilon 15 within which Borrower must

pay all sums secured by this Security Instrument. Tf Borrower falls to pay these sunes prior to the expiration of this period,
Lender may invoke any remedies permitted by this Security Instrument without further notice or demand on Borrower,
19, Borrower's Right to Ralnstate After Acceleration. If Borrower meets certain conditions, Botroter shall
have the right to heve enforcement of this Security Insteument discontinued at any tine prior to the eamliesl off (a) five daya
before sale of the Property pursuant to any power of sale contained in this Seourlty Instrument; (b} euch other perio as

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Page 7 of 12 Printed on 3/16/2015 3:18:13 PM

Document: MTG 2008.0414.036099

 

 
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* litigantorthe member ofa class) that arises from fhe other perty's actions pursuant to thls:

Appticable Law mightspecify for the termination of Borrower's right to reinstate; o (c) entry of & Jud: enforcing this
Security Instrument, conditions are that Borrower: (2) pays Lendar all sums which then would be dua unier this
Security Instrument and the Nots as Lf no eccelerstion had orcured; (b} cures any defhult of any other covenants or
agreementa; (0) pays all expenses incurred in enforcing this Security Inattument, including, but not limited to, reasonable
altoreya! fees, propery Inspection and valuation foes, and ater dees incurred for the purpose of protecting Lend? interest
In the Property and righta under this Security Instrument; and (d) takes such action as Lender may reasonably require to
assure that Lender’: intereat in the Property and riphts under this Security Instrument, atd Borrower's obligation to pay the
sums secured by this Security Instnimtent, pontine unchen; Lender mey require that Borrower pay such
relnstatement summa and expenses In one ar mors of the following forine, as selected by Leader: (a) cast, (b) money order:
(@) carries check, batik check, teasirars check or cashier's check, provided any such check is drawn upon an inatitution
whose deposits are insured by a federal agenoy, insirmmentallty or entity; or (¢) Eteconic Funds Transitr, Upon
relnatatemant by Bortower, thos Security Joshument and obligations sacored hereby shall remsin fully effective as if no
acceleration had occurred, However, this right toreinstate shell not apply in the pase of acceleration under Section 13.

20, Hale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial intoreat inthe Note. -

Cogothor with this Secority Instrament) can bosold one or more times without prior notice to Borrower. A sale might result
in a change in the entity (known as the "Loan Servicer" that collects Pariodic Payments due under the Note and this
Security (nstriment and performa other mortgage loan cervicing obligarlons under the Nove, thls Insirument, and
Applicable Law. ‘There aldo might be one or more changes of the Loan Secvicor unrelated to a nals of the Note. If thors
is achangeofthe Loan Servicer, Borrower will be glven written notice of the change which will state the name and address
of the new Loan Servicer, the address t which ots should be made and any cther information RESPA requires in
connection With anotiscaof tansier ofservicing. If the Note is sold and therenfter the Lean is serviced by a Loan Servier
other than the purchaser of fie Note, the mortgage loan gervlalng cbligatious to Borrower will remain with the Loan
Servicer or be transferred to a successor Loan Servicer and ane not assumed by the Note purchaser unless otherwise

provided by the Nota purchaser, .
Neither Borrower nor Lender may commence, Join, or be joined to any judicial eon (es eithor an individual

r or’
that the other party hes breached any provision of, or any duty owed by reason. of, this Secuvity Instrument, untl! ach
Borrower or Lender has notified the ather party (with suc! given in. compliance withthe requirements of Seotion
15) of such alleged breach and afforded the other party hereto a reasonable pariod after the giving of such notice to take
corrective action. IfApplicable Law provides time period which mistelapss before cartaln dotion can be taken, that time
psried will ba deemed to be reasonable for purponea of this raph. The notice of acceleration and opportunity to cure
ven te Borrower to Section 22 and the notice af acceleration given ta Borrower pursuant to Section 18 shall be
1d to satiety the notices and opportunity to take corective action tons of this Section 20.

21, Hazardous Sebstances. Agueed inthis Section 21: (a) Substances" are thosegubstances defined
a8 toxic or hazardous substartes, pollutants, or wastes by Environmental Lew and the following substances: gasollng,
kerosene, ther flammable or toxle petroloum products, toxle pesticides ond herbickies, volatile solvents, materlals
containing asbesiey or fonouldehyde, and radioactive materials; <b) "Environmental Law" moans foderal laws and laws
of fhe jurisdiction where the 35 located shat etate to health, safety or environmental ms (c} “Environmental
Cleanup" includes any reaponge ection, remedial action, or removal action, a defined in Environmental Law; ecid (dan
“Bavirotmontal Condition” means a condition thatcan cause, contibuteto, orotherwise tigger an Environmental C .

Borrower shall not cause or permit the presence, use, digposal, storage, or release of any Hazardous Substances,
or threaten to release any Hazardous Substances, on ox fa tie Property. Borrower shalinot do, nor allow enyone else to do,
anything affecting the Property (a) that is in violation of any Environmental Law, (4) which creates an ronmental
Conditiun, or (c) which, due to the presence, use, or release of a Hazardous Substances, craates 2 condition that adversely
affects the value of the Property. preceding two sentences shall not apply to the presence, use, or storage on the
Property ofsmall quantities of Hazardous Substances that are generally recognized to be ap iate to normal résidentint
used and to maintenance of the Property (including, but.not limited to, hazardons substances in consumer products).

Borrower shall prompily give Lender wrliten notes of(a) any investigation, claim, demand, lawsuitor ather ection
by eny govervental or regulatory agency or privaia pay nivelying the end any Hazardous Substance or
Environmental Law of which Bomower has actual knowledge, te) ny Havironm Condition, including butnot Limited
to, eny spilling, leaking, discharge, release or threat of release of any Hazardous Substance, and condition caused
OF UIE Peace, Use Ur eleven Gi McmUcus SDLSEicn Wiki mvEreeny a ine vole EY sonore
Jearns, or iz notified by any gevertimental orregulatory euthority, or any private party, hat any removal or other remediation
ofany Hazardous Subanoe effecting the Proper lsnotery, Bower shal IK ‘ale ell necessanrremedial actions
ia seoortance with Environmental Law, Nothing herein shall creets any obligation.on Lender for an Environmental

AME, '

NON-ONIFORM COVENANTS, Borrower and Lender further covenant and agree es follows:

22, Acceleration; Remedies. Leader shall Five notice ta Borrower p to necekration following
Borrower's breach of any covenant or a eat in this Security Instrument (but not prior to acceleration under
Section £8 unless Applicable Law provides otherwise), The notice shall apecity: (a} the default; (b) the action
required to care thedcfault; (0) a dato, not less than 30 days from the das the notice ls given to Borrower, by which
the defanit must be cared; and (d) chat failure to cere the defeule on or befors the date specified iu the notice may
revolt iu acceleration of the sums sceured by this Security Invtrumont und sale of the Property, The notice ahall
further informs Borrower of the right to relastate alter acealeration and the right to bring 4 court action to assert
the non-txisience ofa default or any other defense of Borrower to acceleration and sale. Tethe default is not cured

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Case:14-05033-swd Doc#:72-1 Filed: 04/20/15 Page 9 of 18

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on or before the gateay
secured by this Secor!

remedies provided in this Section 22, iucluding, but sot !
evident '

prescribed by Applicable Law. Lender or its deslgnee may
sale shell be applied in the following order:
attorneys’ fees; (b) to alt soms secured by
legally entitled to It.

23. Releaue, Upon paymant of all sums secured by

discharge of this Security Instrument. Lender may charge Borrower a fos

1 Filed: 04/20/15 Page 10 of 18
Station Id :-BLZL

ecified ix the notice, Lender at its option may require immediate payment in fall of a0 sums
ty Instroment without further demand end m
rewedies permlited by Applesbls Law. Leader shall be entiiled to

invoke (he power of sale and avy other
ect all expenses incurred (n pursning the
bnited tc, veasonatte attorneys! fees aud costs of tithe

ce.
MW Gender lavokes the power of gale, Lender shall give notlee of sale to Borrower in the manner provided
tn Section 15, Leader shall publisk and post the notice of sale, end the Pro

shall be rold in the monner
‘parthase the Property atany sale, The proceeds of the

8 all oxpeaes of the ale, including, bot not limited to, reasonable
Security Toatrunent; and (c) any excess to the person or persons

this Security Instrument, Lender shal! prepare and fite a.

teleasing this Security Instrument, but only

ifthe fee ls paid to a third party for services rendered and the charging of the fea le permitted moder Applicable Law.

BY SIGNING BELOW, Borrower accepts and age

Instrument and in any Rider executed by Borrower and reconied

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ERIC eee

State of Michigan,

i] fo te tems and covenants contained in this Security
tt.

eal}

“Bonower

(Seal)

 

and ERIC PIERSON, wife and isha

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TERAY 6 KOGH
NOTARY SUBLIG KENT COA
MY COMMIERON 11/18/2017
ACTING IN

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insirument was acknowledged before tne this ay Z| be by PATSY PEERSON

a

Notary Public ;

 

Printed Name
My Commission Expires:

aa

faery Hall. B94? 922M
Rent Gnty A festr@ai4/30a6 BEAL

 

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KENT,MI
Document: MTG 2008.0414.036099

Page 9 of 12

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Case:14-05033-swd Doc #:72-1 Filed: 04/20/15 Page 11 of 18

Branch :ATK, User :AT13

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Document: MTG 2008.0414,036099

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Exhibit A -

The Kast 1/2 of the North 1/2 of the North 1/2 of the Northwest 1/4 of the Northwest
1/4 of Section 17, Town 10 North, Range 11 West, Solon Township, Kent County,
Michigan. :

Page 10 of 12 Printed on 3/16/2015 3:18:15 PM

 
Case:14-05033-swd Doc #:72-1 Filed: 04/20/15 Page 12 of 18

Branch :ATK.User :AT13

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MANUFACTURED HOME RIDER TO THE MORTGAGE!
DEED OF TRUSI/TRUST INDENTURE

This Rider is made this Second of April, 2008 and Is incorporated into and shall be doomed to amend and

supplement the Morteage/Deed of Indentare (the "Seourlty Instrument”) of the serie data given by the

undersigned PATSY FIERSON and ERIC PIERSON (the "Borrewer") to secure Borrowers’ Note to Draper

and Kramer Mortgage Corp. (the "Mote Holder’) of the same date (the "Noto") and the Proper

esertbnd in the Security Instrument avd located at 980 20 MILE RD NE, CEDAR SPRINGS, MI 493
roperty A 55),

LEGAL DESCRIPTION:

SeeExhibit''(A" attached hereto and madea part hereof forall purposes (Property Identification Number:
a

MODIFICATIONS: In addition to the covennate and agreements made in the Security Instrument, Borrower(s)
and Mote Holder further covenant and agree as follows:

A. PROPERTY:
Property, ss'the term is defined herein, shallalsoencompassthe Manuftatired Home described as follows:

Manufacturer: FAIRMONT HOMES, Moiel # ES CROWN REGIS, Serial #:

Year: 1993,
MYS229070ABWS628, Size: 14K52,
affixed to the teal property legally described herein.

5B. ADDITIONAL COVENANTS OF BORROWER:

a} Botrowens} covenant and agres thet they will comply with all stote and local laws and
regulations regarding the affwation of the red Home to the real property deserlbed
herein ischuding, bat not limited io, surrendering the Certificate, of Title u required} and

requisite governmental approval and accompanying documentation necesanry ta
classify the Maniiacdured Home a3 taal oder state nd foce! law.

b) That the Manufactured Home degoribe ve shall be, at all times, and for all purposes,
permanently affeoted toand part of the zeal property lepnlly deseyibed herein.

oy rrower{s) covenant that the Mancbaghnred Home ta the real property legally described
herein does not violate any zoning faws or other local requirements applicable to manufactured
hames and fardher covenant that the Manufactured Homes hes been delivered and installed te
thelr sellsfaction and ia fee from alldefects. ©

Station Id :BLZL

 

KENT,MI

(DoD) RAGH23070 - nebridertos!, fig - Rew, Bd/L42007 Page 1

Page 11 of 12 Printed on 3/16/2015 3:18:15 PM

Document: MTG 2008.0414.036099

 

 
KENT,MI

Case:14-05033-swd Doc #:72-1 Filed: 04/20/15 Page 13 of 18
Branch :ATK,User :AT13

Comment: Station Id :BLZL

agen

Mi Heblineake P4242 822A
Kent Gnty NE Ratrea/{4/2008 SEAL

By signing this, Borrower(s) agree to all of the above,

. ¢
angi totec ____ ___. (Seal
PAT TER orower

 

, § diet dé fla basitryr
ERIC PEERS! ' Bent}

(DoD) RA0223070 - rahridertosi.flg ~ Rev. O61 42007 Page 2

Page 12 of 12 Printed on 3/16/2015 3:18:15 PM

Document: MTG 2008.0414.036099

 

 
Case:14-05033-swd Doc #:72-1 Filed: 04/20/15 Page 14 of 18

 

 

Loan No. .
oe —
O. NOTE Sy bane TEs
April 02, 2008 oe GRAND RAPIDS, Michigan

_ __. 98020 MILE RD NE ee
CEDAR SPRINGS, MI 49319 , .
[Property Address}

AL. BORROWER'S PROMISE TO PAY De — : 7 co
co In return for a loan that I have received, I promise to pay U.S. $80,655.00. (this amount is called "Principal"), plus interest, --
to the order of the Lender. The Lender is Draper and Kramer Mortgage Corp.. I will make all payments under this Note in

the form of cash, check or money‘order, 9 0 De Be me
. T understand that the Lender may transfer this Noté. The Lender or anyone who takes this Note by transfer and who is
entitled to-tecéive payments under this Note is called the “Note Holder". . es SE
22. CINTEREST a pe ES oe BES
ls ’ Abteres will be charged on unpaid principal until the full amount of Principal has been paid. J will pay interest at a yearly
tate of 6.875%. "4 ms Do ee ES woe es
_. - Phe interest rate required by this Section 2 is the rate I will pay both before and after any default described:in Section 6(B) .-.
3.0) PAYMENTS 0c moe
(A). Time and Place of Payments — WM :
{will pay principal and interest by making a payment every month. Q, BO Pe,
“Twill make my monthly payment on: the. First day of each month beginning on’ June 01, 2008. I will-make these...
payments eyery month until] have paid all of the principal and i

' have paid interest and any other charges described below that I may owe urider ~~ .
‘this Note.: ‘Each: monthly payment will be applied as of its scheduled due date and will be applied to interest before:Principal.. If,

"On May 01, 2038, 1 still owe amounts under this Note; I will pay those amounts jn full on that date, whichis called the "Matwity =

 

  
   
   
   
     
  
    
 

Bate ns

 

oes I will make my monthly payments at: hg Winn Be ag iat
CO ag EBSA pe pegh Dens : Draper and Kramer Mortgage Corp.
oi: eee oo do est Monroe Street °° oy fn
ee Chicago, IL 60603. a
en Boe ee sa Eb a ivy oor at a different place if required by the'Note Holder. ©
= @).. Amount of Monthly Payments ig BS Ps set ah RS Tn a

_ Mymonthly payment willbe in the amount of US: $529.85, rn

_ 4” BORROWER'S RIGHT TOPREPAY (0 ne

ot. [have the right to make: payments of Principal at any tim before they are due. A payment of Principal only. is known as. 0°:

__y a "Prepayment’. When I make a Prepayment, I will tel the Note Holder in writing thét [am doing so. Imay notdesignatea payment.

<1 ag a Prepayment if] have not madg all the monthly payments due under the Note... TE ge sas
<.  Imay make a full Prepayment or partial Prepayments without paying a Prepayment chara

 

ee nay Te é ments ¥ The Note Holder will use my... =~
"> Prepayments to reduce the amount of Principal that { owe under this-Note. However, the Note Hoider-may apply my Prepayment
_ 7 tothe accrued and unpaid interest on the Prepayment amount, before applying my Prepayment to reduce.the Principal amount of |:
the Note. If] make a partial Prepayment, there will be mo changes in the due date ot in the amount of my monthly payment unless -
:. the Note Holder agrees: in writin; to-th é changes. ws MSW NERA NIUE Ta. Sa Behe esata |

 

 

    
 
   
 

and which Sets maximum loan charges, is finally interpreted so that the interest or. other -
i loan oh lected in connection with this loan exceed the perntitted limits, then: (a): any such loan charge
_: shall-be reduced by the amount necessary to reduce the ch
which exceeded permitted limits will bs ?
owe under this: Noiéor-by makin,

se tothe permited init and (b) any sums already collected ftom me

  

    
 
 
 
    
 
  

». |, BORROWER'S FAILURE TO PAY . oe
(AYO Late Charge for Overdue Payments 2) SE Ee

coo [tthe Note Holder bas not received the full amount of any monthly payment by the end of 15 calendar days after the date:

5" itis due, T will:pay a late charge to the Note Holder. The amount of the charge will be 5.000% of my overdue payment of principal...

9, «and interest. J will pay this Jate charge promptly but only once on each late payment, °c

‘do hot pay the full-amc

   

 

     
 

    
  
 

tof each monthly payment on the date itis due, Iwill bein default.

      
 

“amily--Fannie Mac/Fred

ae/F | “Form 3200" 1/08(Page 1 of 3 Pages)
mis + Rev. 01/18/2008 : me I

 

  

  

 

 

 
Case:14-05033-swd Doc #:72-1 Filed: 04/20/15 Page 15 of 18

 

Loan:'No.:
. MIN No: as -
(Cc) Notice of Default: oo ; ERS
If {am in defauit, the Note Holder may send me a written notice telling me that if I do not pay the overdue amount.by a
‘certain date, the Note Holder may require me to pay iramediately the full amount of Principal which has not heen paid and ali the
. _ interest that [ owe on that amount, That date must be at least 30 days after the date on which the notice is mailed to me or delivered.
: by other means, 2 on oe
-@D)° No Waiver By Note Holder BO = rr
....... Evenif, ata time when I am in default, the Note Holder does not requiré me to pay immediately in full as described above,
the Note Holder will still have the right to do so if I am in default at 2 later time, oo co CEG
_,, (E) ~- Payment of Note Holter's Costs-and Expenses . — a Spt
. .-[f the Note Holder has required me to pay immediately in full as described above, thé Note Holder wilt have the Tight to
be paid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by applicable law, ‘Those
expenses include; for example, reasonabic attorneys’ fees. : ws oe TS ;

7... GIVING OF NOTICES : CE I
oy a, _Uniess applicable law requires a different method, any notice that must be given tome under this Note will be piven by ©:
_ delivering it or by mailing it by first class mail to me at the Property Address above or at a different address if] givethe Note Holder
' anotice of my different address. °° 0 2 ee ey, CPUC PS aed Hin vivian
“>. | Any notice that must be givento the Note Holder under this Noté-will be given by delivering it or by mailing it by first class
_ .<’ Mail to the Note Holder at the address stated in Section 3(A) above or at a different address if | am piven a notice of that different.
o = 8. OBLIGATIONS OF PERSONS UNDER THIS NOTE) <0, Da a ty a Ths
/ ..s\: more than one person signs this Note, each person is fully and personally obligated to keep all of the promises made in
"+ this Note, including the promise to pay the full amount owed, Any person who isa guarantor, surety or endorser of this Notéis also
. ; obligated to do these things. Any person'who takes over these obligations, including the obligations of a guarantor, surety or. |)
_ endorser of this Note, is also obligated to keep all of the promises made in this Note. ‘The Note Holder may enforce its rights under...
__ this Note against each person individually or against all of us together. This means that any one of us may be tequired to-pay ali
of the amounts owed under this Note. 9 Eg oe

 

  
 
  
  
   
   
     

9 WANVERS

- 2. 'y Land any other person who-has obligations under this Note waive the rights of Presentment and Notice of Dishonor...

_. : Presentment” means the right to require the Note Holder to demand payment of amounts due. "Notice of Dishonor" meanstheright
“1 to require the Note Holder to give notice to other persons that amounts due have not been paid.

UNIFORMSECUREDNOTE

      
   
 

os 4.. This Note is a uniform instrument with limited: variations in some jurisdictions. In addition to the protections given tothe | -
_ Note Holder under this Note, a Mortgage, Deed of Trust or Security Deed (the "Security Instrument"), dated the same date as this.

- Note, protects the Note Holder:from possible losses which might result if. | dé not keep the promises which } make in this Note. -”.
2 3 "That Security Instrument describes how and under what conditions I may be required to make immediate payment in full ofall’
--.*, amounts T owe under-this Note, ‘Some of those conditions are described.as follows! 8805
Soi i" Tall or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower isnot. 2

_ anatural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written consent, 0 2
* Lender may require immediate payment tn full of all sums secured by this Security Instrument. “However, this: : | -

 

~ option shail not be exercised by Lender if such exercise is prohibited by Applicable Law. °° 00
If Lender exercises ‘this option, Lender shall give Borrower notice of acceleration; The notice shall’... :
_- provide a period of net less than 30 days from the:date the notice'is given in accordance with Section 15 within
+. whieh Borrower must pay’all sums secured by this Security Instrument. If Borrower fails to pay these sums priot =
vc?" to-the expiration of this period, Lender may invoke any remedies permitted by this Security Instrument without’: 000
~~ «4 further notice or demand.on Borrower: 000 60000 ry Se BE

 

   

    

    

 

8. 2. (8 MULTISTATE FIXED RA‘TE NOTESingle Pamily-Fannic Muc/Freddic Mac UNIFORM INSTRUMENT: 0°
ore Moan No MIB (Dob) RA0223070 - 213 200.mis - Rev 0182008

       

 

 

 
Case:14-05033-swd Doc #:72-1 Filed: 04/20/15 Page 16 of 18

 

Loan Now: ;
MIN No.:

 

 

 

 

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED. _
SP rtay Fleseet (Seal)
PATSY PIERSON. 7 . -Borrower
[Sign Original Only]
MULTISTATE FIXED RATE & NOTE-Single amily Panaie Mac/Predaic Mac UNIFORM INSTRUMENT . . Form 3200 1101¢Page 30f3 Pages). vs

oS bow ii Ped) RA0223070 « nt3200.mis- Rev. O/1B/2008 :

 

 

 

 
Case:14-05033-swd Doc #:72-1 Filed: 04/20/15

Page 17 of 18

 

 

WITHQUT RECOURSE PAY TO THE ORDER Gf

U8. Bank NA
a © KRAMER MORTGAGE CORP,
ae .

   
 

Jacq ueline Earle- Sanchez
_ | V.P. Operations

 

 
Case:14-05033-swd Doc #:72-1 Filed: 04/20/15 Page 18 of 18

Branch :ATK,User :AT13 Comment: Station Id :BLZL

\

HECD KENT CRUMTY. MI ROD
ZUG WAR 17 AH 9: 00

 

oe above for Recorder's une

. TGNMENT OF MORTGAGE
MERS x BB) 675-6377
Customer}: qi
Loot:

Recording Requested By:
U8. SANK HOME MORTGAGE

 

And Whea Recorded Matt To:
TLS, Bank Home Mortgage
809 S, sath Stroot, Salto 210
‘Wart Ailiz, WI 53244

ATTN: MABRY J IRWIN BXE

Por good and valuable consideration, the sufficiency of which in hereby ackiowledged, MORTGAGE
PLECTRONIC REGISTRATION SYSTEMS, INC. AS NOMINEE FOR DRAPER AND KRAMER
MORTGAGE CORP., ITS SUCCESSORS ANT ASSIGNS, CAD P.O BOX 2926, FLINT, MI 48501 2026,
by these premante does convey, prant, bargain, call, sevign, transfer and sof over to: U8. BANK NATIONAL
ASSOCIATION, 4101 FREDERICA STREET, OWENSBORO, KY 42301 0000, the decoribed Mortgage,
together with the cartain n¢le(s) deapribed tharcin wilh all interest, all Liens, sid any righta dos or to become due
thereon, Said Mortgage for $90,045.60 is recorded in the Stata of MICHIGAN, County of KENT Cfiiclal
Reuords, dsted APRIL 82, 2008 and recorded. on APRIL 14, 2008, a Instrument Ne, 20080414-0036099, In
LIER: —, at Page Ne. —.

Original Morigagor: PATBY PIERSON AND ERIC PIERSON, WIFE AND HUSBAND.

Original Motigagee: MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. AS NOMINEE
FOR DRAPER AND KRAMER MORTGAGE COBP., ITS SUCCESSORS AND ASSIGNS. «

Date: MARCH Thy anid

  
 
 

EGISTRATION SYSTEMS, INC, AS NOMINEE FOR DRAPER
178 SUCCESSORS AND ASSIGNS

 

 

KENT,Mi
Document: MTG; ASN
2014.0317.017815

 

 

 

State of KENTUCKY }
County of DAVIESS 1m.

 

Oa MARCH 11, 2014, before me, Krlaty Tobnaen, » Notary Public, personally appeared Melly Billard, who

proved to nte on the basis of saticfactery evidence to be the poreou(s) wheer mane(a) ia/are evteoribed to the

within instrument aud acknowledged to me that he/ehe/they executed the santa in bis/her/their authorized

copacityiies) and that by hie/hewtheir stgnaturo(s) on the instrument the paraon(é), or the exitity wpon bebalfor
“which the permon(e) aofed, executed the instrument. I certify undes PENALTY OF PERJURY under the laws of

tha Stato of RENTUCKY that the foregoing pategtaph is trae and coment.

Witnres my bead aad official anal.

BCA

(Notary Name): Kristy Johnson
Cormission Expires: 32/11/2016
Comunission Na:

    

id - _.°
nOTvey rua KENTUGEY
py NO ROTaG

PREPARED BY: U8, Bank Home Mortgage, £09 5. 6th Street, Suite 210 West Allis, WI 63214
BRITTANY SEOWN - US BANK

Page 1 of 1 Printed on 3/16/2015 3:18:16 PM

 

 
